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               FEDERAL ELECTION COMMISSION
               Washington, DC 20463




                                                   September 1, 2022


BY ELECTRONIC MAIL ONLY
jessica@holtzmanvogel.com
jmbayes@holtzmanvogel.com
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Jessica Johnson
Michael Bayes
Jason Torchinsky
Holtzman Vogel Baran Torchinsky & Josefiak PLLC
15405 John Marshall Hwy
Haymarket, VA 20169


                                            RE:    MUR 7524
                                                   Josh Hawley for Senate and
                                                     Salvatore Purpura in his official
                                                     capacity as treasurer

Dear Ms. Johnson and Messrs. Bayes and Torchinsky:

        On October 29, 2018, the Federal Election Commission (“Commission”) notified
your clients, Josh Hawley for Senate and Salvatore Purpura in his official capacity as
treasurer of a complaint alleging violations of the Federal Election Campaign Act of 1971, as
amended (the “Act”). A copy of each complaint was forwarded to your clients at that time.

        The Commission considered the complaints but there was an insufficient number of
votes to determine whether or not there was reason to believe that your clients violated
52 U.S.C. §§ 30104(b), 30116(f) and 30118(a), provisions of the Act. Accordingly, on
August 29, 2022, the Commission closed its files in these matters.
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MUR 7524
Jessica F. Johnson
Michael Bayes
Jason Torchinsky
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        Documents related to the case will be placed on the public record within 30 days.
See Disclosure of Certain Documents in Enforcement and Other Matters, 81 Fed. Reg.
50,702 (Aug. 2, 2016). A Statement of Reasons explaining the Commission’s decision will
follow.

        If you have any questions, please contact me at (202) 694-1650.

                                                    Sincerely,


                                                    Roy Q. Luckett
                                                    Acting Assistant General Counsel
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               FEDERAL ELECTION COMMISSION
               Washington, DC 20463




                                                  September 7, 2022


BY ELECTRONIC MAIL ONLY
cspies@dickinson-wright.com; kreynolds@dickinson-wright.com

Charles Spies, Esq.
Katherine Reynolds, Esq.
Dickinson Wright PLLC
1825 Eye Street NW, Suite 900
Washington DC 20006

                                           RE:    MURs 7427, 7497, 7524 and 7553
                                                  National Rifle Association of America
                                                   Political Victory Fund and Robert
                                                   Owens in his official capacity as
                                                   treasurer
                                                  National Rifle Association Institute for
                                                    Legislative Action and Robert Owens
                                                     in his official capacity as treasurer

Dear Mr. Spies and Ms. Reynolds:

        On July 20, 2018, September 21, 2018, October 29, 2018, and December 13, 2018,
respectively, the Federal Election Commission (“Commission”) notified your clients,
National Rifle Association of America Political Victory Fund and Robert Owens in his
official capacity as treasurer (“NRA-PVF”), and National Rifle Associate Institute for
Legislative Action and Robert Owens in his official capacity as treasurer (“NRA-ILA”) of
complaints alleging violations of the Federal Election Campaign Act of 1971, as amended
(the “Act”). A copy of each complaint was forwarded to your clients at that time.

        The Commission considered the complaints but there was an insufficient number of
votes to determine whether or not there was reason to believe that NRA-PVF violated
52 U.S.C. §§ 30104(b), 30116(a), and 30118(a) in MURs 7427, 7524 and 7553, and that
NRA-ILA violated 52 U.S.C. §§ 30104(b), 30116(a), and 30118(a) in MURs 7427, 7497,
7524 and 7553, provisions of the Act. Accordingly, on August 29, 2022, the Commission
closed its files in these matters.
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MURs 7427, 7497, 7524, and 7553
Charles Spies, Esq.
Katherine Reynolds, Esq.
Page 2

        Documents related to the case will be placed on the public record within 30 days.
See Disclosure of Certain Documents in Enforcement and Other Matters, 81 Fed. Reg.
50,702 (Aug. 2, 2016). A Statement of Reasons explaining the Commission’s decision will
follow.

       If you have any questions, please contact me at (202) 694-1650.

                                                   Sincerely,


                                                   Roy Q. Luckett
                                                   Acting Assistant General Counsel
